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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

  CAITLYN ROSE EICHMANN,                         §
       Plaintiff,                                §
                                                 §
  v.                                             §     CIVIL ACTION NO. 3:24-CV-106
                                                 §
                                                 §
  THE U. OF HOUSTON SYS., et al.,                §
       Defendants.                               §
                                                 §

    DEFENDANT UNIVERSITY OF HOUSTON SYSTEM’S MOTION TO DISMISS
   PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) and 12(b)(6)

        COMES NOW Defendant University of Houston System (“UHS”), and files this Motion

to Dismiss pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). In support thereof,

UHS respectfully offers the following:

                                              I.
                                         BACKGROUND

        This case arises from an alleged student-on-student sexual assault that occurred in a

dormitory room on the University of Houston’s (“UH”) campus in March 2022. On the evening

of March 2, 2022, Plaintiff Caitlyn Eichmann (“Eichmann”) accompanied a male student, Felipe

Harker (“Harker”), to the University Lofts dormitory building on the campus of UH, where both

Eichmann and Harker proceeded to consume alcohol with a third student. ECF No. 1 at 3.

Sometime in the early morning hours of March 3, Eichmann and Harker, who each had their own

dorm rooms in the University Lofts building, left the third student’s dorm room, walked to

Harker’s room, and continued drinking. ECF No. 1 at 3. After leaving the building for a period of

time, Eichmann and Harker returned to Harker’s dorm room at approximately 5:18 a.m., during

which time Eichmann alleged that she was experiencing “black out” effects from alcohol and “lost
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all her memory save for a few flashes in and out,” including flashes of Harker “having his hands

around her neck, squeezing her neck, and trying to have sex with her.” ECF No. 1 at 4. Eichmann

alleged her next memory “was waking up in Defendant Harker’s bed in a state of complete undress

except for her underwear” and “realized that Defendant Harker had sexually assaulted her[.]” ECF

No. 1 at 4.

       At some unidentified time after the alleged assault, Eichmann notified UHS of the assault,

and UHS began a Title IX investigation through its Office of Equal Opportunity Services (“EOS”),

in addition to affording Eichmann the opportunity to transfer housing locations away from the

University Lofts, where Harker remained. ECF No. 1 at 5–6. As a part of its investigation, UHS’s

EOS asked for Eichmann’s interview. ECF No. 1 at 6. Eichmann, however, refused to participate

in the Title IX investigation and, instead, directed EOS to a police report allegedly containing

Eichmann’s statement concerning the assault. ECF No. 1 at 6. According to Eichmann, UHS

“deemed [her] to be unwilling to cooperate and dropped its investigation” on April 22, 2022. ECF

No. 1 at 6. That same day, Eichmann claimed she “observed Defendant Harker for the first time

since her sexual assault . . . as she observed him entering the University Lofts . . . even though she

was one [sic] Defendant [UHS] asked to move into another university housing unit.” ECF No. 1

at 5. Eichmann alleged that her observation of Harker caused serious emotional distress and her

eventual withdrawal as a student from UH. ECF No. 1 at 5.

       In November 2023, Eichmann learned that “the State of Texas would not be pursuing a

criminal action against Defendant Harker.” ECF No. 1 at 7. Approximately two months later,

Eichmann alleged that UHS notified her that it would not be taking remedial action against Harker.

ECF No. 1 at 7.




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        On April 12, 2024, Eichmann filed an Original Complaint against UHS and Harker in

which she asserted a negligence claim under the Texas Tort Claims Act (“TTCA”) and a Title IX

claim for deliberate indifference against UHS stemming from the March 3, 2022, sexual assault

involving Harker. Eichmann seeks damages in the form of loss of educational benefits,

consequential damages, past and future medical expenses, compensatory damages, exemplary

damages, pre- and post-judgment interest, attorney’s fees, and costs. UHS now files its Motion to

Dismiss Eichmann’s claims against it with prejudice.

                                         II.
                               ARGUMENT & AUTHORITIES

A. Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1)

        A party may move to dismiss under Federal Rule of Civil Procedure 12(b)(1) when it seeks

to challenge the subject-matter jurisdiction of a district court in a case. FED. R. CIV. P. 12(b)(1).

“Lack of subject matter jurisdiction may be found in any one of three instances: (1) the complaint

alone; (2) the complaint supplemented by undisputed facts evidenced in the record; or (3) the

complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.”

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (citing Barrera-Montenegro v.

United States, 74 F.3d 657, 659 (5th Cir. 1996)). The burden of proof for a Rule 12(b)(1) motion

is always borne by the party claiming jurisdiction. Id. When a party files multiple Rule 12 motions,

“the court should consider the Rule 12(b)(1) jurisdictional attack before addressing any attack on

the merits.” Id.

        Because UHS has not waived sovereign immunity as to Eichmann’s negligence claim

under the TTCA, this Court does not have subject-matter jurisdiction over Eichmann’s negligence

claim, which must be dismissed.




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       1. Eichmann failed to state a negligence claim under the TTCA.

       Eichmann’s negligence claim against UHS is barred under the TTCA. Governmental

entities, such as state agencies, are immune from suit absent a legislative waiver. Kerrville State

Hosp. v. Fernandez, 28 S.W.3d 1, 3 (Tex. 2000). “Under Texas law, state universities . . . are

agencies of the State and enjoy sovereign immunity.” Jackson v. Texas Southern University, 997

F. Supp. 2d 613, 623 (S.D. Tex. 2014). UHS is a university system comprised of several different

state universities, including UH, and all of which are “subject to the obligations and entitled to the

benefits of all general laws of Texas applicable to all other state institutions of higher education[.]”

TEX. EDUC. CODE § 111.02. Under the TTCA, the State Legislature provided “a limited waiver of

sovereign immunity and allow[ed] suits against governmental units only in certain narrow

circumstances.” Texas Dep’t of Criminal Justice v. Miller, 51 S.W.3d 583, 587 (Tex. 2001). That

limited waiver is stated in Section 101.021:

               A governmental unit in the state is liable for:

               (1) property damage [or] personal injury . . . proximately caused by
                   the wrongful act or omission or the negligence of an employee
                   acting within his scope of employment if:

                       (A) the property damage [or] personal injury . . . arises from
                           the operation or use of a motor-driven vehicle or
                           motor-driven equipment; and

                       (B) the employee would be personally liable to the claimant
                           according to Texas law;[] and

               (2) personal injury . . . so caused by a condition or use of tangible
                   personal or real property if the governmental unit would, were it
                   a private person, be liable to the claimant according to Texas
                   law.

TEX. CIV. PRAC. & REM. CODE § 101.021(1)–(2).




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       In this case, Eichmann’s negligence claim under the TTCA does not trigger a waiver of

UHS’s entitlement to sovereign immunity. In her Original Complaint, Eichmann specifically pled

the following concerning her negligence claim under the TTCA:

       39. Defendant UHS, by virtue of the above-mentioned contract, undertook to and
       was obligated to provide reasonable means to secure the person and property of the
       students, including plaintiff, while they were residents on Defendant UHS’ main
       campus.

       40. The above-described attack[, i.e., Harker’s alleged sexual assault of Eichmann
       in his dorm room,] occurred because of the negligence of Defendant UHS and
       Defendant UHS would be liable to plaintiff under Texas law. Specifically,
       Defendant UHS negligently failed to provide adequate measures of security,
       including patrols, locks and reasonable rules and regulations to be observed by the
       students to prevent student-residents from sexually assaulting other students in its
       dorms.

ECF No. 1 at 8. None of Eichmann’s allegations fall within the limited waiver of sovereign

immunity stated in Section 101.021 of the TTCA. First, the circumstances giving rise to

Eichmann’s negligence claim—namely, an alleged sexual assault in the dorm room of another

student—have nothing to do with the security of students’ “property” on campus, and Eichmann

fails to present any facts establishing otherwise. Second (and more directly related to Section

101.021(1)), Eichmann’s negligence claim does not arise from a UHS employee’s operation or use

of a motor-driven vehicle or motor-driven equipment, nor does Eichmann state any facts in her

Original Complaint showing that her alleged sexual assault arose from a UHS employee’s

operation or use of a motor-driven vehicle or motor-driven equipment. Therefore, Eichmann has

failed to assert a waiver of UHS’s sovereign immunity under Section 101.021(1).

       Similarly, Eichmann’s allegations do not fall within the limited waiver of sovereign

immunity contained in Section 101.021(2). Eichmann alleges no facts in her Original Complaint

supporting a finding that her injury from an alleged student-on-student sexual assault was “caused

by a condition or use of tangible personal or real property[.]” TEX. CIV. PRAC. & REM. CODE

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§ 101.021(2). Eichmann has also failed to show how UHS would be liable to her under Texas law

were it a private person. Accordingly, Eichmann has failed to state a negligence claim under the

TTCA, and the Court should dismiss her claim without prejudice. See Warnock v. Pecos County,

Texas, 88 F.3d 341, 343 (5th Cir. 1996) (“Because sovereign immunity deprives the court of

jurisdiction, the claims barred by sovereign immunity can be dismissed only under Rule 12(b)(1)

and not with prejudice.”).

B. Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6)

       A court should grant a 12(b)(6) motion to dismiss if a pleading fails to “state a claim upon

which relief can be granted.” FED. R. CIV. P. 12(b)(6). In order “to survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. (quoting Twombly, 550 U.S. at 556). Conclusory allegations will

not defeat a Rule 12(b)(6) motion. Guidry v. Bank of LePlace, 954 F.2d 278, 281 (5th Cir. 1992);

see also Tuchman v. DSC Commc’ns Corp., 14 F.3d 1061, 1067 (5th Cir. 1994) (“a plaintiff must

plead specific facts, not mere conclusory allegations”). Additionally, “a court is not bound to

accept legal conclusions couched as factual allegations.” Kan v. OneWest Bank, FSB, 823 F. Supp.

2d 464, 468 (W.D. Tex. 2011); Plummer v. University of Houston, No. 4:14-CV-2959, 2015 WL

12734039, at *7 (S.D. Tex. May 28, 2015) (“[L]egal conclusions masquerading as factual

conclusions need not be treated as true.”). As an initial matter, Eichmann’s negligence claim under

the TTCA is time-barred and should thus be dismissed. Eichmann’s Title IX claim should similarly

be dismissed under Rule 12(b)(6) because she failed to state a Title IX claim against UHS when



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she did not allege facts showing that UHS was deliberately indifferent and that the alleged

harassment from Harker was “pervasive.” Eichmann’s claim for punitive damages against UHS

should also be dismissed, as Eichmann is not entitled to punitive damages under either the TTCA

or Title IX.

        1. Eichmann’s negligence claim is time-barred.

        Eichmann failed to comply with the two-year statute of limitations for her negligence claim

against UHS under the TTCA. Her claim is thus time-barred and must be dismissed. “[A] person

must bring suit for . . . personal injury . . . not later than two years after the day the cause of action

accrues.” TEX. CIV. PRAC. & REM. CODE § 16.003; see also City of Houston v. Meka, No. 01-22-

00002-CV, 2023 WL 3063397, at *4 (Tex. App.—Houston [1st Dist.] Apr. 25, 2023, pet. filed).

“[A] cause of action sounding in negligence accrues at the time of the act or omission alleged to

constitute negligence[.]” Kansa Reinsurance Co., Ltd. v. Congressional Mortg. Corp. of Texas, 20

F.3d 1362, 1371 (5th Cir. 1994); Jones v. Texaco, Inc., 945 F. Supp. 1037, 1041 (S.D. Tex. 1996)

(“. . . a cause of action generally accrues when a wrongful act effects an injury, regardless of when

the plaintiff learns of such injury”).

        Here, Eichmann asserted a negligence claim against UHS and alleged that UHS

“negligently failed to provide adequate measures of security . . . to prevent student-residents from

sexually assaulting other students in its dorms[,]” leading Eichmann to sustain personal injury

when she was allegedly sexually assaulted by Harker. ECF No. 1 at 8. The alleged sexual assault

forming the basis of Eichmann’s negligence claim against UHS occurred on March 3, 2022. ECF

No. 1 at 3. Therefore, Eichmann’s negligence claim against UHS accrued on March 3, 2022;

however, she did not file her Original Complaint asserting her negligence claim until April 12,




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2024. Accordingly, Eichmann’s negligence claim against UHS is time-barred and must be

dismissed.

       2. Eichmann failed to state a Title IX claim against UHS.

       Under Title IX, “[n]o person in the United States shall, on the basis of sex, be excluded

from participation in, be denied the benefits of, or be subjected to discrimination under any

education program or activity receiving Federal financial assistance[.]” 20 U.S.C. § 1681(a). “A

school that receives federal funding may be held liable for student-on-student sexual harassment.”

I.L. v. Houston Ind. Sch. Dist., 776 Fed. App’x 839, 842 (5th Cir. 2019) (citing Davis v. Monroe

County Board of Education, 526 U.S. 629 (1999)). To establish a typical Title IX claim, a plaintiff

must show that the defendant:

       (1) had actual knowledge of the harassment, (2) the harasser was under the
       [defendant’s] control, (3) the harassment was based on the victim’s sex, (4) the
       harassment was so severe, pervasive, and objectively offensive that it effectively
       barred the victim’s access to an educational opportunity or benefit, and (5) the
       [defendant] was deliberately indifferent to the harassment.

Doe v. Texas A&M Univ., 634 F. Supp. 3d 365, 374–75 (S.D. Tex. 2022). “[W]hile the school is

not itself committing the sexual harassment, it can be said to be intentionally discriminating if it

knows of severe and pervasive sexual harassment occurring within its control and, for example,

does nothing.” Doe 1 v. Baylor Univ., 240 F. Supp. 3d 646, 658 (W.D. Tex. 2017) (emphasis

added). Because Eichmann has not pled facts showing that UHS was deliberately indifferent or

that any alleged harassment was “pervasive,” Eichmann has not stated a Title IX claim.

               a. Eichmann has not alleged facts showing that UHS was deliberately
                  indifferent to her sexual assault allegation.

       In the Title IX context, “deliberate indifference . . . is . . . a high bar. Deliberate indifference

requires the [University’s] response to be clearly unreasonable in light of the known

circumstances.” Roe v. Cypress-Fairbanks Ind. Sch. Dist., 53 F.4th 334, 341 (5th Cir. 2022)

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(internal quotation marks omitted); Sanches v. Carollton-Farmers Branch Ind. Sch. Dist., 647 F.3d

156, 167 (5th Cir. 2011) (stating that deliberate indifference in a Title IX case “is a high bar, and

neither negligence nor mere unreasonableness is enough.”). “Officials may avoid liability under a

deliberate indifference standard by responding reasonably to a risk of harm, even if the harm

ultimately was not avoided.” Doe ex. rel. Doe v. Dallas Ind. Sch. Dist., 220 F.3d 380, 384 (5th Cir.

2000) (internal quotation marks omitted). Notably, “Title IX does not require flawless

investigations or perfect solutions.” Id. at 170.

       On the face of her complaint alone, Eichmann has failed to state a Title IX deliberate

indifference claim against UHS. Eichmann alleged in her complaint that she was sexually assaulted

by a fellow student (Harker) at the University Lofts dormitory during the early morning hours of

March 3, 2022. ECF No. 1 at 3–4. Eichmann claimed that—before the assault—(1) she and Harker

were both student residents at the University Lofts, a dormitory building on UH’s main campus,

(2) she “was aware that [Harker] also resided in the University Lofts,” and (3) she accompanied a

friend (with Harker in tow) back to her friend’s room at the University Lofts, where all three began

drinking wine. ECF No. 1 at 2, 3. Later that evening, Eichmann “went with Defendant Harker to

his dormitory room on the eighth floor of the University Lofts,” where they continued to consume

alcohol, then left together to walk to UH’s Architecture building, and returned to Harker’s dorm

room at the University Lofts at approximately 5:18 a.m. ECF No. 1 at 3–4. At that time, Plaintiff

alleged she was in a complete state of intoxication and experienced loss of memory save “flashes

in and out” of Harker “having his hands around her neck, squeezing her neck, and trying to have

sex with her.” ECF No. 1 at 4. Upon waking, Eichmann “realized that Defendant Harker had

sexually assaulted her, as she became aware that she had sex but had no memory of consenting to

engaging in sexual intercourse with him.” ECF No. 1 at 4.



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       At some unidentified time after she was assaulted, Eichmann alleged that she “made [UHS]

aware of the sexual assault by Defendant Harker, [and that UHS’s] EOS office informed plaintiff

that it would investigate the allegations and permitted plaintiff to move into a different campus

housing unit.” ECF No. 1 at 5–6 (¶ 25) (emphasis added). Although Paragraph 25 of Eichmann’s

complaint leaves the impression that Eichmann sought a transfer to another dormitory away from

Harker that UHS then “permitted,” Eichmann stated three paragraphs earlier that sometime during

its investigation of Eichmann’s allegations against Harker, UHS “asked [Eichmann] to move into

another university housing unit.” ECF No. 1 at 5 (¶ 22) (emphasis added).

       In addition to affording Eichmann the opportunity to change housing locations away from

Harker while it investigated her allegations, UHS required an interview of Eichmann in which it

was expected that she would provide necessary details to the EOS office concerning her assault

allegations for UHS’s Title IX investigation. ECF No. 1 at 6. Instead of cooperating with the EOS

office’s investigation, however, Eichmann refused to be interviewed and informed the office “that

she had already given a full statement to Defendant [UHS’s] police department and provided it

with the detective’s contact information.” ECF No. 1 at 6.

       To be deliberately indifferent, as a matter of law, UHS’s response must have been “clearly

unreasonable in light of the known circumstances.” Cypress-Fairbanks Ind. Sch. Dist., 53 F.4th at

341. Moreover, “a school’s response need not be effective in remedying the harassment, and no

particular remedial action is required.” K.S. v. Northwest Ind. Sch. Dist., 689 F. App’x 780, 784

(5th Cir. 2017) (emphasis added). Given that Eichmann directed UHS’s EOS office to the

statement she provided to UH’s police department, she would presumably not dispute that “it is

not clearly unreasonable to rely on the investigative expertise of a law enforcement agency,” see

Houston Ind. Sch. Dist., 776 Fed. App’x at 346—and yet, her Original Complaint alone establishes



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that UHS was not willing to rely merely on her apparent statement to the UH police department

concerning her allegations against Harker but instead sought to conduct its own Title IX

investigation in which UHS required Eichmann’s participation and interview. ECF No. 1 at 6. Only

after (1) UHS provided Eichmann with a housing change away from Harker, (2) UHS commenced

a Title IX investigation, and (2) UHS determined that Eichmann was unwilling to cooperate in

UHS’s Title IX investigation into her allegations against Harker did UHS conclude that its Title

IX investigation could not proceed without Eichmann’s involvement.

       Based on the facts presented in Eichmann’s complaint, UHS “took some action in response

to the specific incidents alleged by” Eichmann “and to the overall situation”—namely, providing

Eichmann with housing at a location separate and apart from the University Lofts (where she and

Harker were both residents at the time of the alleged assault) and commencing a Title IX

investigation into Eichmann’s assault allegations that only concluded after Eichmann refused to

cooperate with UHS’s EOS office conducting the investigation. Northwest Ind. Sch. Dist., 689 F.

App’x at 784; ECF No. 1 at 5–6; see also I.F. v. Lewisville Ind. Sch. Dist., 915 F.3d 360, 376–77

(5th Cir. 2019) (stating that “[o]nce it began its investigation, . . . [the school district’s] response

was not deliberately indifferent.”). Clearly then, UHS cannot be said to have “do[ne] nothing,”

and Eichmann has failed to present sufficient factual allegations to state a claim for deliberate

indifference against UHS. See Doe 1, 240 F. Supp. 3d at 658; see also Fennell v. Marion Indep.

Sch. Dist., 804 F.3d 398, 410 (5th Cir. 2015) (concluding that a school district was not deliberately

indifferent to severe and pervasive racial harassment when it “took some action in response to

almost all of the incidents” including allowing a plaintiff to park in the teacher’s lot and work in

the counselor’s office when a noose was found near her car in the school parking lot). Even

assuming, arguendo, that UHS’s response to Eichmann’s assault allegations amounted to a



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“weaker response[,]” its response was “not tantamount to intentionally subjecting [a student] to

harassment.” Northwest Ind. Sch. Dist., 689 F. App’x at 784. Accordingly, Eichmann has failed to

allege facts showing that UHS was deliberately indifferent, and her Title IX claim should thus be

dismissed.

               b. Eichmann’s complaint does not contain factual support establishing that
                  she suffered “pervasive” harassment.

       Eichmann’s allegation that UHS “failed to ensure she would not be subjected to continuing

assault and harassment by failing to move Defendant Harker and requiring [P]laintiff to have to

interact with him on a regular basis” is conclusory and entirely unsupported by any factual

enhancement in her complaint. “To be actionable under Title IX, harassment must be ‘so severe,

pervasive, and objectively offensive that it effectively bars the victim’s access to an educational

opportunity or benefit.” Cypress-Fairbanks Ind. Sch. Dist., 53 F.4th at 342 (citing Sanches, 647

F.3d at 165) (emphasis added). Concerning this particular element of a Title IX claim, the

Cypress-Fairbanks court noted a circuit split on the meaning of “pervasive”:

       There is a circuit split regarding whether a “single instance of sufficiently severe
       one-on-one peer harassment” could even rise to the level of “pervasive”
       harassment. Three circuits have held that “pervasive” student-on-student
       harassment for Title IX purposes “means multiple incidents of harassment; one
       incident of harassment is not enough.” Kollaritsch v. Mich. State Univ. Bd. of
       Trustees, 944 F.3d 613, 620 (6th Cir. 2019), see K.T. v. Culver-Stockton Coll., 865
       F.3d 1054, 1058 (8th Cir. 2017); Reese v. Jefferson Sch. Dist. No. 14J, 208 F.3d
       736, 740 (9th Cir. 2000). On the other side of the split, four circuits have held that
       students must demonstrate only that a school’s deliberate indifference made
       harassment more likely, not that it actually led to any additional post-notice
       incidences of harassment. Doe v. Fairfax Cnty. Sch. Bd., 1 F.4th 257, 274 (4th Cir.
       2021); Farmer v. Kansas State Univ., 918 F.3d 1094, 1108 (10th Cir. 2019);
       Fitzgerald v. Barnstable Sch. Comm., 504 F.3d 165, 172 (1st Cir. 2007), reversed
       and remanded on other grounds, 555 U.S. 246, 129 S.Ct. 788, 172 L.Ed.2d 582
       (2009); Williams v. Bd. of Regents of Univ. Sys. of Ga., 477 F.3d 1282, 1295–97
       (11th Cir. 2007).


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       Our Circuit has not yet opined on what constitutes “pervasive” harassment[.]

Cypress-Fairbanks Ind. Sch. Dist., 53 F.4th at 342–43.

       While the meaning of “pervasive” in the context of a Title IX claim has not yet been

addressed by the Fifth Circuit, this Court should conclude that Eichmann’s failure to allege facts

showing sustained harassment after the alleged March 3, 2022 sexual assault by Harker does not

satisfy Title IX’s requirement that Eichmann have suffered “pervasive” harassment. After her

encounter with Harker on March 3, Eichmann alleges that she only saw Harker one other time—

specifically on April 22, 2022, when she “observed him entering the University Lofts . . . even

though she was [the] one [UHS] asked to move into another university housing unit.” ECF No. 1

at 5 (emphasis added). Apart from one observation of Harker (which, according to Eichmann’s

complaint involved no interaction), Eichmann asserted no facts supporting her conclusory

contention that she was “subjected to continuing assault and harassment” or that she “[had] to

interact with [Harker] on a regular basis” after March 3, 2022. ECF No. 1 at 9; Tuchman, 14 F.3d

at 1067 (5th Cir. 1994) (to survive a 12(b)(6) motion to dismiss, “a plaintiff must plead specific

facts, not mere conclusory allegations”). Further, Eichmann presented no factual allegations

establishing that she suffered “severe, pervasive, and objectively unreasonable” harassment

resulting from UHS’s attempt to conduct a Title IX investigation and transfer of Eichmann to

different housing accommodations.

       Even if this Court were inclined to follow circuit courts on the other side of the split—that

is, concluding that “pervasiveness” contemplates “a school’s deliberate indifference [making]

harassment more likely, not that it actually led to any additional post-notice incidences of

harassment,” Cypress-Fairbanks Ind. Sch. Dist., 53 F.4th at 342–43—Eichmann has still not stated

a Title IX claim when she failed to allege facts showing that UHS was deliberately indifferent in



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its response to her sexual assault allegation. As mentioned previously, after Eichmann alerted

UHS’s EOS office of the alleged sexual assault involving Harker, UHS (1) afforded Eichmann a

transfer to another housing complex away from the University Lofts, (2) commenced a Title IX

investigation, and (3) only concluded that investigation after Eichmann refused to participate in

UHS’s investigatory process. Although Eichmann later “observed” Harker on April 22 (with no

alleged interaction between the two or any indication that Harker was even aware of Eichmann’s

presence), Eichmann made no allegation that any harassment resulted from her observation of

Harker entering the building (University Lofts) where his dorm was located or at any other time.

Further, it is established law that “a school’s response need not be effective in remedying the

harassment, and no particular remedial action is required.” Northwest Ind. Sch. Dist., 689 F. App’x

at 784. Therefore, to the extent Eichmann claims that UHS’s January 2024 notification to her that

it would not be pursuing remedial action against Harker constituted deliberate indifference,

Eichmann’s Title IX claim fails as a matter of law. See ECF No. 1 at 6–7, 9.

       In sum, while her allegations of sexual assault are disturbing, Eichmann has simply not met

her burden under Title IX of alleging facts showing that she was the victim of harassment that was

pervasive and that UHS was deliberately indifferent to the harassment. Accordingly, this Court

should dismiss Eichmann’s Title IX claim against UHS.

       3. Eichmann is not entitled to punitive damages under the TTCA or Title IX.

       Eichmann is not entitled to punitive damages under the TTCA. Pursuant to Section

101.024, the TTCA “does not authorize exemplary damages.” TEX. CIV. PRAC. & REM. CODE

§ 101.024. In her Original Complaint, Eichmann sought punitive damages related to her

allegations against UHS. See ECF No. 1 at 10 (¶ 54). As a matter of law, Eichmann is not entitled

to such damages for her negligence claim under the TTCA.



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       Similarly, Eichmann is not entitled to punitive damages under Title IX. “[I]t is clear that

punitive damages are not recoverable under Title IX.” Ayala v. Omogbehin, No. CV H-16-2503,

2016 WL 7374224, at *4 (S.D. Tex. Dec. 20, 2016); Gebser v. Lago Vista Indep. Sch. Dist., 524

U.S. 274, 286 (1998); Mercer v. Duke Univ., 50 Fed. App’x 643, 644 (4th Cir. 2002). Because

Eichmann cannot recover punitive damages for her Title IX claim as a matter of law, the Court

should dismiss Eichmann’s claim for punitive damages.

                                            III.
                                        CONCLUSION

       For the foregoing reasons, Defendant University of Houston System prays that this Court

grant its Motion to Dismiss pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6)

and dismiss Eichmann’s claims against it with prejudice.

                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

     I certify that that on June 14, 2024, this document was filed electronically via the Court’s
CM/ECF system, causing electronic service upon all counsel of record.

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